        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 1 of 14



                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
IN RE: APPLICATION OF THE REPORTERS        )
COMMITTEE FOR FREEDOM OF THE PRESS )
FOR AN ORDER AUTHORIZING THE               ) Misc. No. 19-045 (BAH)
RELEASE OF GRAND JURY MATERIAL             )
CITED, QUOTED, OR REFERENCED IN THE )
REPORT OF SPECIAL COUNSEL ROBERT           )
S. MUELLER III                             )
__________________________________________)

        GOVERNMENT’S OPPOSITION TO MOTION TO CONSOLIDATE
    AND MEMORANDUM IN SUPPORT OF ITS CROSS-MOTION TO DISMISS OR
             DENY THE APPLICATION WITHOUT PREJUDICE

                                        INTRODUCTION

       Reporters Committee for Freedom of the Press (“Reporters Committee”) brought this

Application in an effort to procure the release of grand jury information redacted from or

referenced in the confidential report submitted by Special Counsel Robert S. Mueller, III to the

Attorney General pursuant to 28 C.F.R. § 600.8. 1 (“Mueller Report” or “Report”). The Report

was released to the public with redactions on April 18, 2019.

       The primary legal theory underpinning the Application was the Court’s alleged “inherent

authority” to disclose grand jury information in the public interest outside the confines of Federal

Rule of Criminal Procedure 6(e). Whether a district court possesses inherent authority to

authorize such a disclosure was an issue pending before the D.C. Circuit at the time Reporters

Committee filed its application. Hedging its bet on the outcome of the D.C. Circuit’s decision,

Reporters Committee also included in its Application a short argument as to why its request also

fits within the text of Criminal Rule 6(e), and urged the Court, alternatively, to grant the



1
 The Report is entitled “Report On The Investigation Into Russian Interference In The 2016
Presidential Election.”
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 2 of 14



Application on that basis. Just days after the Application was filed, however, the D.C. Circuit

ruled that courts lack inherent authority to deviate from the express terms of Rule 6(e).

McKeever v. Barr, 920 F.3d 842 (D.C. Cir. 2019, rehearing denied, July 22, 2019. Stripped of

the inherent authority based arguments, Reporters Committee’s Application rests on the textual

arguments alone.

       Reporters Committee now moves (while the case was stayed) to consolidate this matter

with an application filed by the House Judiciary Committee for the same grand jury information.

That motion should be denied, and this Application instead dismissed without prejudice. 2

Consolidation here does not serve the interests of judicial economy. Post-McKeever, Reporters

Committee lacks standing to sustain its Application and its textual arguments are wholly without

merit and easily dispatched. No judicial efficiencies are achieved by permitting a litigant with no

viable claim of its own to participate in the briefing of another matter.

       Reporters Committee identifies three textual provisions that it claims can save its

Application post-McKeever. Two such provisions – one governing grand jury information

involving foreign intelligence and the other permitting disclosure of grand jury information to an

attorney for the government for use in performing that attorney’s duty – are not even within the

Court’s authority to authorize. The Court may authorize disclosure only for the five reasons

listed in Rule 6(e)(3)(E). In any event, those provisions are keyed to an “attorney for the

government,” a defined term that does not include attorneys for the House of Representatives,

even if Reporters Committee could stand in those attorneys’ shoes, which it cannot.



2
 The Court can deny or dismiss the Application without prejudice to Reporters Committee
refiling in the event McKeever were ever to be altered by a subsequent Supreme Court decision
or an amendment to Rule 6(e).
                                                2
         Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 3 of 14



        The only provision of Rule 6(e) under which, in appropriate circumstances, the Court

could entertain an application for disclosure – preliminary to or in connection with a judicial

proceeding -- is unavailable to Reporters Committee. Reporters Committee identifies no judicial

proceeding in which it has a concrete interest, and no particularized need for the information it

seeks. Potential impeachment proceedings in the House of Representatives, proceedings wholly

unconnected to this petitioner, cannot confer standing on Reporters Committee. And Reporters

Committee’s generalized interest in transparency -- no different from that of any member of the

public – cannot substitute for a showing of particularized need. Because Reporters Committee’s

Application cannot stand on its own, consolidation should be denied, and the Application itself

dismissed or denied.

                                        BACKGROUND

   A.    Procedural Background

        Reporters Committee filed the Application at issue on April 1, 2019, over two weeks

before the release of the redacted Report to the public. On April 5, 2019, the D.C. Circuit issued

its decision in McKeever. On April 9, 2019, the parties jointly moved for a stay, “in light of the

anticipated release of the redacted Special Counsel’s Report and any filing of a petition for

rehearing or rehearing en banc in McKeever v. Barr, No. 17-5149 (D.C. Cir. 2018), events that

will inform the legal and factual circumstances of this proceeding.” See Joint Motion to Stay, ecf

# 9. The Court granted the motion the next day (Minute Order dated 4/10/19), and granted

successive motions to continue the stay on May 13, 2019, and June 12, 2019. In its last Minute

Order, the Court directed the parties to submit, by August 12, 2019, a further request to extend




                                                 3
          Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 4 of 14



the stay, or alternatively, to propose a briefing schedule. On July 22, 2019, the D.C. Circuit

denied rehearing en banc in McKeever.

         On July 26, 2019, the Committee on the Judiciary, House of Representatives (“the

Committee”), filed its own application for an order authorizing disclosure to the Committee of

grand jury information from the Mueller Report. The Committee noticed its application as

related to the application of Reporters Committee, 3 and both applications are pending before this

Court. Pursuant to a briefing schedule proposed by the parties and entered by the Court, the

Department of Justice will respond to the Committee’s application by September 13, and the

Committee will respond by September 30.

         While the stay in the instant matter was still in effect, on August 6, 2019, Reporters

Committee moved to consolidate its application with that of the Committee. The government

hereby opposes the motion for consolidation, and, with the lifting of the stay on August 12, 2019,

cross-moves for dismissal pursuant to Federal Rule of Civil Procedure 12(b)(6). 4

    B.    Legal Background

         1. Consolidation

         Pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, “[i]f actions before the

court involve a common question of law or fact, the court may: (1) join for hearing or trial any or

all matters at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to



3
 Whether or not the Committee’s application met the standards for related case designation,
petitions for the disclosure of grand jury information are assigned to the Chief Judge by Local
Rule, see Local Crim. Rule 6.1. Thus, the related case designation had no practical consequence.

4
 Although the Court requested a joint briefing schedule from the parties upon expiration of the
stay, Reporters Committee jumped the gun by moving for consolidation and proposing that it
follow the briefing schedule governing the Committee application.
                                                4
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 5 of 14



avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a). Under this rule, “the Court has

discretion to consolidate civil actions when the cases share common issues of law or fact,

consolidation would serve the interests of judicial economy, and the parties would not be

prejudiced by consolidation.” Judicial Watch, Inc. v. Dep’t of Energy, 207 F.R.D. 8, 8 (D.D.C.

2002); see also Chang v. United States, 217 F.R.D. 262, 265 (D.D.C.2003) (same); Am. Postal

Workers Union v. U.S. Postal Serv., 422 F. Supp. 2d 240, 245 (D.D.C. 2006) (same).

       2. Criminal Rule 6(e)

       Criminal Rule 6(e)(2)(B) sets out the general rule of grand jury secrecy and provides a

list of “persons” who “must not disclose a matter occurring before the grand jury.” Rule 6(e)(3)

then sets forth a detailed list of “exceptions” to grand jury secrecy, including in subparagraph

(E), five circumstances in which a “court may authorize disclosure ... of a grand-jury matter.”

See generally McKeever, 920 F.3d at 844-845. Those five circumstances are as follows:

       (i) preliminarily to or in connection with a judicial proceeding;

       (ii) at the request of a defendant who shows that a ground may exist to dismiss the
       indictment because of a matter that occurred before the grand jury;

       (iii) at the request of the government, when sought by a foreign court or prosecutor for
       use in an official criminal investigation;

       (iv) at the request of the government if it shows that the matter may disclose a violation
       of State, Indian tribal, or foreign criminal law, as long as the disclosure is to an
       appropriate state, state-subdivision, Indian tribal, or foreign government official for the
       purpose of enforcing that law; or

       (v) at the request of the government if it shows that the matter may disclose a violation of
       military criminal law under the Uniform Code of Military Justice, as long as the
       disclosure is to an appropriate military official for the purpose of enforcing that law.

Crim. R. Fed. P. 6(e)(3)(E).




                                                 5
         Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 6 of 14



        In any request to obtain grand jury information pursuant to Rule 6(e)(3)(E)(i),

“preliminarily to or in connection with a judicial proceeding,” a petitioner must make a “strong

showing of particularized need.” United States v. Sells Engineering, Inc., 463 U.S. 418, 443

(1983); Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 218, (1979); United States v.

Procter & Gamble, 356 U.S. 677, 682-83, L (1958); In re Sealed Case, 801 F.2d 1379, 1381

(D.C. Cir. 1986).

                                           ARGUMENT

   I.      CONSOLIDATION WOULD NOT PROMOTE JUDICIAL ECONOMY

        Reporters Committee primarily contends that consolidation is appropriate because, while

the petitioners are different, “they are asserting identical questions of law against the same

defendant.” Motion to Consolidate (“Motion”) at 6. The petitioners in these two matters,

however, are not similarly situated, and do not raise the same questions of law. To start,

Reporters Committee relies on two provisions of Rule 6(e) that the Committee does not.

Reporters Committee Application, ¶¶ 33-35 (citing Fed. R. Crim. P. 6(e)(3)(D) and

6(e)(3)(A)(i)). Thus, the applicability of those provisions is only at issue here, and not in the

Committee’s application.

        With respect to Fed. R. Crim. P. 6(e)(3)(E)(i), relied on in both applications, Reporters

Committee concedes that petitioners are in wholly different positions: Reporters Committee

“seeks release of the requested materials to the public at large, in order to ensure transparency,

promote governmental accountability, and improve the public’s understanding of a significant

historical event.” Motion at 6. By its own description, Reporters Committee cannot meet the

particularized need standard required to seek grand jury records preliminarily to or in connection


                                                  6
           Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 7 of 14



with a judicial proceeding. Indeed, in describing its purpose for seeking the records, Reporters

Committee establishes conclusively that its “need” for the requested information is no different

from that of any member of the public – it alleges no direct injury, but only that it “suffers in

some indefinite way in common with people generally.” Commonwealth of Massachusetts v.

Mellon, 262 U.S. 447, 488 (1923). Reporters Committee’s lack of injury is only underscored

through its reliance on an alleged impeachment investigation in which it plays no part and has no

direct connection. For these reasons, and as further explained below, Reporters Committee’s

Application on its face is not viable and subject to dismissal. Consolidation under these

circumstances provides no efficiencies 5 – to the contrary, the most efficient course is for the

Court to deny Reporters Committee’s Application at this time.

    II.      REPORTERS COMMITTEE’S APPLICATION IS NOT VIABLE AND
             SHOULD BE DISMISSED OR DENIED AT THIS TIME

          Post-McKeever, and stripped of its primary argument, Reporters Committee admits that

its Application now rests on textual grounds alone. See Motion at 2-3 and n.1 (“In light of the

D.C. Circuit’s recent decision in McKeever v. Barr, 920 F.3d 842 (D.C. Cir. 2019), going

forward the Reporters Committee intends to limit its arguments in favor or public access to those

based on Rule 6(e)’s express exceptions to grand jury secrecy.”). Because none of the cited

exceptions to grand jury secrecy applies here, this Application is easily denied.



5
  The only “efficiency” Reporters Committee points to as supporting consolidation is a
combined briefing schedule. It claims that the Department of Justice can respond to both
applications on September 13, and Reporters Committee can file its own reply on September 30.
See Motion at 7. But a combined briefing schedule is unnecessary in light of the Department’s
Motion to Dismiss. Indeed, with this motion, the Department has now fully responded to
Reporters Committee’s Application, and Reporters Committee is free to reply.


                                                  7
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 8 of 14



       A. Reporters Committee Identifies No Nexus Between it and Any Judicial
          Proceeding and No Particularized Need for the Grand Jury Information

       Reporters Committee recites the correct legal standard governing what a petitioner must

establish to gain access to grand jury information for use in a judicial proceeding, see

Application, ¶ 31, but makes no effort to satisfy it. The only alleged judicial proceeding it

identifies is the activities of “[t]he various committees of the House of Representatives

investigating the actions arising from the same conduct that spurred the appointment of the

Special Counsel …” Application, ¶ 32. Reporters Committee, however, has no personal stake

in the actions of the House of Representatives, and no individualized connection to those

proceedings, and it does not contend otherwise. Rather, Reporters Committee seems to imagine

that its general interest in transparency and release “to the public,” Application, ¶ 32, are

sufficient to show a particularized need for the information. Ordinary standing principles,

however, as well as the particularity requirement, make clear that a personal interest is required

and generalized statements of need will not suffice. Reporters Committee cannot stand in the

shoes of the House Judiciary Committee, nor can it rely on an alleged judicial proceeding with

which it has no involvement.

       The Supreme Court has “consistently held that a plaintiff raising only a generally

available grievance about government—claiming only harm to his and every citizen’s interest in

proper application of the Constitution and laws, and seeking relief that no more directly and

tangibly benefits him than it does the public at large—does not state an Article III case or

controversy.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 573–74 (1992); see also Fairchild v.

Hughes, 258 U.S. 126, 129–30 (1922); Massachusetts v. Mellon, 262 U.S. 447, 488 (1923) (A

“party who invokes the power [of judicial review] must be able to show . . . that he has sustained

                                                  8
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 9 of 14



or is immediately in danger of sustaining some direct injury . . ., and not merely that he suffers in

some indefinite way in common with people generally.”); see also Warth v. Seldin, 422 U.S.

490, 508, (1975) (noting that a plaintiff “must allege specific concrete facts demonstrating that

the challenged practices harm him, and that he personally would benefit in a tangible way from

the court’s intervention”); Ellis v. Comm'r of Internal Revenue Serv., 67 F. Supp. 3d 325, 335

(D.D.C. 2014), aff'd sub nom. Ellis v. Comm’r, 622 F. App’x 2 (D.C. Cir. 2015) (same).

       These familiar concepts of Article III injury are fully embodied within the requirement

that a petitioner seeking the release of grand jury information make a “strong showing of

particularized need.” Sells Engineering, Inc., 463 U.S. at 443. The particularized need test

imposes an additional criterion on a petitioner: “It reflects a judgment that not every beneficial

purpose, or even every valid governmental purpose, is an appropriate reason for breaching grand

jury secrecy. Rather, the Rule contemplates only uses related fairly directly to some identifiable

litigation, pending or anticipated,” United States v. Baggot, 463 U.S. 476, 480 (1983), consistent

with the exception’s original purpose of “avoid[ing] a possible injustice in another judicial

proceeding.” Douglas Oil Co., 441 U.S. at 222. It is no surprise, therefore, that a successful

petitioner for disclosure of grand jury information under the “judicial proceeding” provision both

is personally connected to the judicial proceeding underpinning the petition, and can state with

particularity why the information is needed to avoid an injustice. See, e.g., Doe v. Cabrera, 126

F. Supp. 3d 160 (D.D.C. 2015) (holding that disclosure of alleged sexual assault victim’s grand

jury testimony would aid in avoiding injustice in alleged victim’s civil action against alleged

perpetrator, where there were inconsistencies between the grand jury testimony and victim’s

allegations in her civil claim, victim stated she could not recall grand jury testimony with


                                                  9
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 10 of 14



particularity, and disclosure was required to permit alleged perpetrator to refresh victim’s

recollection, impeach her credibility, and bolster his defense.)

       Reporters Committee, which seeks this information to “ensure transparency, promote

governmental accountability and improve the public’s understanding of a significant historical

event,” Motion at 6, cannot plausibly meet this exacting standard. Its abstract interests in a

proceeding unrelated to it are the antithesis of the particularized showing required both to

establish Article III injury and need. Indeed, if Reporters Committee had filed a Freedom of

Information Act request for these same records – the appropriate statutory mechanism to

vindicate an interest in the transparency of government records – that request would have been

denied on the ground that Rule 6(e) exempts the records from disclosure. Nothing in Rule

6(e)(3)(E)(i) suggests that a different result should obtain merely because Reporters Committee

has instead applied directly to this Court under the Criminal Rules. Reporters Committee’s

effort to rely on alleged judicial proceedings in which it has no part should be rejected.

       B. The “National Security Exception” is Not Available to Reporters Committee

       Rule 6(e)(3)(D) provides that “[a]n attorney for the government may disclose grand jury

matter involving foreign intelligence, counterintelligence, or foreign intelligence information to

any federal law enforcement, intelligence, protective, immigration, national defense or national

security official to assist the official receiving the information in the performance of that

official’s duties.” Fed. R. Crim. P. 6(e)(3)(D). Reporters Committee argues that members of the

House Judiciary and Intelligence Committees and their staffs qualify to receive this information,

and that the Court should therefore order disclosure on that basis. Application, ¶¶ 33-34. This

argument is meritless for numerous reasons.


                                                 10
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 11 of 14



       First, the district court is not empowered to order the disclosure of grand jury information

under this subsection. Rather, a court may authorize disclosure only for the five specific reasons

set forth in Rule 6(e)(3)(E). See Fed. R. Crim. P. 6(e)(3)(E); McKeever, 920 F.3d at 845.

       Second, only an “attorney for the government” may disclose foreign intelligence related

grand jury information under Rule 6(e)(3)(D). “Attorney for the government” is a defined term

in the Criminal Rules that does not include attorneys working for the House Judiciary and

Intelligence Committees. See Fed. R. Crim. P. 1(b)(1) (“Attorney for the Government means:

(A) the Attorney General or an authorized assistant; (B) a United States attorney or an authorized

assistant; (C) when applicable to cases arising under Guam law, the Guam Attorney General or

other person whom Guam law authorizes to act in the matter; and (D) any other attorney

authorized by law to conduct proceedings under these rules as a prosecutor.”). Indeed, so

restrictive is the foregoing definition that even Department of Justice civil attorneys do not

qualify as attorneys for the government. Sells Eng’g, Inc, 463 U.S. at 427 (holding that

automatic disclosure of grand jury matters is limited to attorneys who conduct the criminal

matters to which the materials pertain); see also id. at 428-29 (“Given the strong historic policy

of preserving grand jury secrecy, one might wonder why government attorneys are given any

automatic access at all. The draftsmen of the original Rule 6 provided the answer:

‘Government attorneys are entitled to disclosure of grand jury proceedings, other than the

deliberations and the votes of the jurors, inasmuch as they may be present in the grand jury room

during the presentation of evidence. The rule continues this practice.’ Advisory Committee’s

Notes on Federal Rule of Criminal Procedure 6(e)”).




                                                 11
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 12 of 14



       Finally, Reporters Committee asserts no viable national security rationale of its own, and

it cannot stand in the shoes of the House Judiciary and Intelligence Committee attorneys. Thus,

even if a court had the discretion to disclose such information (which it does not), and even if

House Judiciary and Intelligence Committee attorneys were themselves attorneys for the

government within the meaning of the Rule (which they are not), Reporters Committee’s

Application on this ground would still fail.

       C. The “Government Attorney” Provision is Not Applicable

       Reporters Committee argues that its application is also warranted under Rule 6(e)(3)(A),

which permits disclosure of a grand jury matter, other than the grand jury’s deliberations or vote,

to “an attorney for the government for use in performing that attorney’s duty.” Fed. R. Crim. P.

6(e)(3)(A)(i). See also Fed. R. Crim. P. 6(e)(3)(A)(ii). According to Reporters Committee, the

“government attorney exception applies to the cadre of attorneys that serve and represent the

House of Representative and, unquestionably, the members of the House they serve constitute

‘government personnel’ that those attorneys can … assist in performing that attorney’s duty to

enforce federal criminal law.” Application, ¶ 35.

       For the same reasons explained in connection with the “national security” provision,

Reporters Committee’s argument fails. Rule 6(e)(3)(A) falls outside of those categories for

which a court may authorize disclosure, see Fed. R. Crim. P. 6(e)(3)(E). Attorneys for the House

of Representatives are not attorneys for the government for purposes of the Criminal Rules, and

Reporters Committee itself cannot be an attorney for the government. See Fed. R. Crim. P.

1(b)(1); Sells Eng’g, Inc., 463 U.S. at 427. And Reporters Committee cannot in any event stand




                                                12
        Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 13 of 14



in the shoes of the House of Representatives. The “government attorney” provision of Rule 6(e)

is simply inapplicable here.

       D. The First Amendment Does Not Require Disclosure

       Reporters Committee’s final argument -- that it has a First Amendment interest in

receiving information from a willing speaker, i.e., the House of Representatives -- is similarly

frivolous. Protected grand jury information is not akin to a gag order, and the cases that

Reporters Committee cites are wholly inapt. See Application, ¶¶ 36-37 (citing cases).

Moreover, by its own admission, Application, ¶ 37, the House of Representatives does not have

the requested information, and whatever willingness it may have to share the information is

therefore irrelevant. Reporters Committee’s argument reduces to nothing more than a plea on

behalf of the House, not itself. See Application, ¶ 37 (“[I]f the House obtains the grand jury

material . . . it would willingly share that information with members of the public, including

Reporters Committee. The Court should allow the House to do so.”).

       As to any direct claim under the First Amendment, the law is abundantly clear that there

is no First Amendment right to grand jury information. See In re Motions of Dow Jones & Co.,

142 F.3d 496, 499 (D.C. Cir. 1998) (holding that it is a settled proposition that there is no First

Amendment right of access to grand jury proceedings, as “since the 17th century, grand jury

proceedings have been closed to the public, and records of such proceedings have been kept from

the public eye.”). Accordingly, this remaining rationale in support of disclosure should also be

rejected.




                                                 13
       Case 1:19-mc-00045-BAH Document 15 Filed 08/12/19 Page 14 of 14




                                        CONCLUSION

       For all the reasons stated above, the Court should deny the Motion for Consolidation and

dismiss the application without prejudice.


Dated: August 12, 2019                          Respectfully submitted,

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                                              14
